1700 G Street NW,
Washington, DC 20552




September 4, 2018

VIA ECF

Hon. Loretta A. Preska
United States District Court Judge
Southern District of New York
United States Courthouse
500 Pearl Street, Room 2220
New York, NY 10007

      Re: CFPB, et al. v. RD Legal Funding, LLC, et al., Case No. 1:17-cv-00890

Dear Judge Preska:

      The Bureau of Consumer Financial Protection respectfully submitted a proposed
judgment under Rule 54(b). ECF No. 103. Pursuant to the Court’s August 23, 2018
Order, the parties have conferred, and the Attorney General of the State of New York
and Defendants RD Legal Funding, LLC, RD Legal Finance, LLC, RD Legal Funding
Partners, LP, and Roni Dersovitz do not object to the proposed judgment.


                                             Very Truly Yours,

                                             /s/ Hai Binh T. Nguyen

                                             Hai Binh T. Nguyen
                                             Enforcement Attorney
                                             Bureau of Consumer Financial Protection
